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                                                           November 25, 2020

TO BE FILED UNDER SEAL

VIA EMAIL (SUBMITTED PURSUANT TO SECTION 2(B)
OF JUDGE NATHAN’S INDIVIDUAL PRACTICES IN CRIMINAL CASES)

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        On behalf of our client, Ghislaine Maxwell, we plan to file a Renewed Motion for
Release on Bail (the “Motion”) and respectfully request an in camera conference, with all
counsel present, to address the appropriate procedures for the filing and consideration of the
Motion. For the reasons explained below, we intend to request, pursuant to Fed. R. Crim. P.
49.1(d), that the Court permit the filing of portions of the Motion and certain supporting
materials under seal and require that any responsive materials be filed under seal. We believe an
in camera conference would be the most efficient form to address these issues and other
confidentiality concerns related to the Motion. We intend to provide a full set of materials to the
government, Pretrial Services, and the Court when the Motion is filed. We are merely requesting
that sensitive contents of the submission be accorded confidentiality protections similar to those
that the government routinely requires in protective orders, including the one in this case.

        In the four months since this Court denied Ms. Maxwell’s request for bail and granted the
government’s motion for detention, Ms. Maxwell and her counsel have assembled substantial
information that was not available to present at the initial hearing, as well as a comprehensive
bail package co-signed by sureties who were unable to come forward at that time. Accordingly,
Ms. Maxwell now seeks to renew her request for bail pursuant to 18 U.S.C. § 3142(f).

      Ms. Maxwell’s renewed application will rely on sensitive and private information that, if
made public, would be highly damaging to both Ms. Maxwell and third parties, including:

         •   Letters from Ms. Maxwell’s family members and close friends, who have agreed to
             serve as sureties to support Ms. Maxwell’s renewed bail application. The letters
             contain personal details that, if made public, would invite identification and
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             harassment of the sureties and other third parties, including minor children. They are
             legitimately afraid that if their identities become public, they will be subjected to the
             same relentless media scrutiny and threats that Ms. Maxwell has experienced for
             more than a year, like the following sample of social media posts:

                     “they need to get this bitch n string her up by her neck . . . f*cking monster . . .
                     #GhislaineMaxwell.”

                     “I hope someone finds her and kills her. That would be justice. Obviously her
                     lawyers know’s where she is, someone should stick them up to batteries untill we
                     find out where she is.”

                     “SHE'S HERE in #Massachusetts ?! The bitch #GhislaineMaxwell who
                     #SexTrafficked young girls for #Epstein ?!?! Why the hell isn't she being brought in
                     for questioning @ManchesterMAPD ?! WE DO NOT WANT HER HERE!
                     #SleezyLeach She is CLOSE ENOUGH to me, I could grab her myself!”

         •   A financial report, prepared by the accounting firm Macalvins Limited, that provides
             a summary of Ms. Maxwell’s financial condition from 2015-2020 and discloses all of
             her assets, all assets held in trust, and assets held by other family members.

         •   A discussion and analysis of certain materials produced by the government in
             discovery marked “Confidential” and their impact on the government’s case against
             Ms. Maxwell, which must be filed under seal pursuant to the terms of the Protective
             Order in this case (Dkt. 36).

          Fed. R. Crim. P. 49.1(d) provides that “a court may order that a filing be made under seal
  without redaction. The court may later unseal the filing or order the person who made the filing
  to file a redacted version for the public record.” While the Second Circuit has recognized a
  presumption of access under both common law and the First Amendment, it is appropriate to
  permit the filing of documents under seal if “countervailing factors” in the common law
  framework or “higher values” in the First Amendment framework so demand. Lugosch v.
  Pyramid Co. of Onandaga, 435 F.3d 110, 124 (2d Cir. 2006); see also Unites States v. Wey, 256
  F. Supp. 3d 355, 411 (S.D.N.Y. 2017) (Nathan, J.) (granting motion to seal evidentiary exhibits
  and finding that privacy interests “outweigh any public interest in disclosure, whether derived
  from the First Amendment or the common-law right of access”).

         Moreover, a lower presumption of public access applies to documents submitted in
  connection with powers that are “ancillary to the court’s core role in adjudicating a case” than to
  “material introduced at trial, or in connection with dispositive motions.” Brown v. Maxwell, 929
  F.3d 41, 49-50 (2d Cir. 2019) (applying lower presumption to documents submitted in
  connection with discovery and evidentiary motions than to summary judgment filings). Thus, a
  lower presumption of public access attaches the parties’ pretrial bail submissions than to exhibits
  introduced at trial or in connection with a motion to dismiss.
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          Here, that lower presumption is far outweighed by the significant privacy interests
  implicated by the materials at issue. See United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir.
  1995) (“[t]he privacy interests of innocent third parties … should weigh heavily in a court’s
  balancing equation”). If Ms. Maxwell’s sureties are publicly identified, they will be harassed
  simply for their association with and support of her. Indeed, some of Ms. Maxwell’s closest
  friends and family have already suffered significant consequences. For example,




           The sureties are legitimately scared that they and their children will suffer the same
  consequences, and may not be able to come forward at all, if the Court does not allow their
  letters and their identities to be sealed. See id. at 1051 (“[C]ourts have the power to insure that
  their records are not used to gratify private spite or promote public scandal[.]”). These
  individuals are entitled to the same privacy as Ms. Maxwell’s accusers, no longer minors, who
  have been permitted to remain anonymous even though many have revealed their identities.

          The presumption of public access is also outweighed by Ms. Maxwell’s privacy interest
  in details regarding her financial condition, as well as the privacy interests of third parties that
  would be implicated if Ms. Maxwell’s assets were publicly disclosed. See id. (personal financial
  records traditionally considered private, not public).

           Similar privacy interests led the court to permit the redaction of bail submission materials
  in United States v. Nejad (“Sadr”), Case 1:18-cr-00224-AJN (S.D.N.Y.). Like this case, Sadr
  involved a defendant with meaningful assets and a bail package with numerous co-signers. At
  the initial bail hearing, Judge Carter ordered both defense counsel and the government to redact
  attachments to their submissions because they contained “sensitive private information with
  respect to a whole series of individuals.” (Id., Dkt. 21 at 25.) The privacy interests at stake here
  are significantly higher, given the documented threats against Ms. Maxwell and harassment of
  her family and friends.

          For the reasons set forth above, we believe that portions of the Motion, and certain
  materials submitted in support thereof and in opposition thereto, should be filed under seal. We
  respectfully request an in camera conference to address these issues and other confidentiality
  concerns related to the Motion. We have consulted with the government, which consents to the
  redaction and sealed filing of (1) the names and identifying information of any proposed
  cosigners, (2) any discovery materials designated confidential under the Protective Order in this
  case, and (3) any information derived from confidential discovery materials in this case. The
  government does not consent to the in camera conference.
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                                                Respectfully submitted,

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  cc:   All counsel of record (via email)
